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                            UNITED STATES DISTRICT COURT
                             DISTRICT OF MASSACHUSETTS


STEPHEN F. CASS,

               Plaintiff,

v.

TOWN OF WAYLAND, WAYLAND                                  CIVIL ACTION NO.: 1:17-CV-11441

PUBLIC SCHOOLS, WAYLAND POLICE
DEPARTMENT, PAUL STEIN,
BRAD CROZIER, ALLYSON MIZOGUCHI
and JAMES BERGER [Misnamed],

               Defendants.


        MOTION FOR LEAVE TO FILE A SHORT REPLY MEMORANDUM

      Pursuant to Local Rule 7.1(b)(3), Benjamin L. Hincks, Esq., Kristen S. Scammon, Esq.

and the Firm of Torres, Scammon, Hincks & Day, LLP (collectively, the “Firm”), respectfully

seek leave of the Court to file a Reply Memorandum of not more the two (2) pages in order to

respond, briefly, to arguments set forth in Defendants’ Opposition to Plaintiff’s Counsel’s

Motion for Leave to Withdraw.
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                                              Respectfully submitted,

                                              STEPHEN F. CASS,

                                              By his attorneys,

                                               /s/ Benjamin L. Hincks
                                               Benjamin L. Hincks (BBO# 630685)
                                               Kristen S. Scammon (BBO# 634586)
                                               TORRES, SCAMMON, HINCKS & DAY, LLP
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                                               E: bhincks@tshdlegal.com
Dated: August 20, 2018                         E: kscammon@tshdlegal.com



                                       Certificate of Service
        I hereby certify that on August 20, 2018, the above entitled document has been served on
all counsel of record through the Court’s ECF system. In addition, the above was also served by
email and regular mail on Stephen F. Cass.

                                                      /s/ Benjamin L. Hincks


                                   Local Rule 7.1 Certification


         I hereby certify that on August 20, 2018 I contacted counsel for the other parties in the
litigation in an attempt to eliminate or narrow the issues in the Motion. Opposing counsel
indicated that he assents to the motion.

                                                      /s/ Benjamin L. Hincks




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